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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION                    )
 OPIATE LITIGATION                               )
                                                 )       MDL No. 2804
 This document relates to:                       )
 All Cases                                       )       Case No. 1:17-md-02804-DAP
                                                 )
                                                 )
                                                 )
                                                 )       Honorable Dan A. Polster
                                                 )
                                                 )
                                                 )


      AMNEAL PHARMACEUTICALS LLC’S NOTICE REGARDING SERVICE

       In accordance with the Court’s Case Management Order One, Paragraph 6.d., Amneal

Pharmaceuticals LLC, hereby submits this Notice Regarding Service. Amneal Pharmaceuticals

LLC’s form for waiver of service for Amneal Pharmaceuticals LLC is attached hereto as Exhibit

A. The standard form has been modified in accordance with this Court’s orders. Further requests

for waiver of service to Amneal Pharmaceuticals LLC shall be made, complete with all required

case information and a PDF copy of the complaint and any exhibits thereto, via the email to the

following attorney:

Dated: April 12, 2019                         Respectfully submitted,

                                              /s/ Paul J. Cosgrove                        .
                                              Paul J. Cosgrove (0073160)
                                              ULMER & BERNE LLP
                                              600 Vine Street, Suite 2800
                                              Cincinnati, OH 45202
                                              Phone: (513) 698-5000
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                                              Email: pcosgrove@ulmer.com

                                              Attorney for Amneal Pharmaceuticals LLC
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this the 15th day of April, 2019, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court using the CM/ECF system and will
be served via the Court’s CM/ECF filing system on all attorneys of record.


                                              /s/ Paul J. Cosgrove                       .
                                              Paul J. Cosgrove (0073160)
